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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :    No. 4:23-CR-00162

             vs.                                 :
                                                      (CHIEF JUDGE BRANN)
MATHEW LAMPI,                                    :

                     DEFENDANT                   :   Electronically filed

______________________________________________________________________


                           MOTION FOR ENLARGEMENT OF TIME
                              TO FILE PRETRIAL MOTIONS


       AND NOW COMES the Defendant, Mathew Lampi, by and through his attorney,

Joseph R. D’Andrea, Esquire, and files this Motion for Enlargement of Time to File Pretrial

Motions and in support thereof, avers as follows:

       1.     By an Indictment, the Defendant was charged with Conspiracy, Title 18,

U.S.C., Section 371 and Interstate Transport of Stolen Goods, Aid and Abet, Title 18,

U.S.C., Section 2314, 2 within the Middle District of Pennsylvania;

       2.     A Pretrial Order has set the pretrial motion filing deadline of July 12, 2023;

       3.     The parties are presently engaged in the discovery process and in plea

negotiations, which may eliminate the need for trial in this matter. The parties request an

extension of time within which to file pre-trial motions in order to provide the Defendant

sufficient time to receive and review discovery and to allow the parties to continue with

their plea negotiations.

       4.     Due to the reasons set forth above, the parties jointly request an extension
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of time of approximately thirty days to file pretrial motions.

       5.     It is respectfully submitted that the ends of justice will be served by a

continuance of the date for the filing of pretrial motions for an additional period of

approximately sixty days and the delay occasioned by this motion is excludable from the

speedy trial calculation pursuant to 18 U.S.C. § 3161(h) (8) (a).

       6.     The Assistant United States Attorney Sean A. Camoni concurs with

this Motion for Enlargement of Time to File Pretrial Motions in the above referenced

matter.

       WHEREFORE, the Defendant, Mathew Lampi, respectfully requests that this

Honorable Court enlarge the time for the filing of pretrial motions for a period of

approximately thirty (30) days.                       .



                                           Respectfully submitted,

                                            s/Joseph R. D’Andrea
                                           Joseph R. D’Andrea, Esquire
                                           Attorney ID# PA 43105
                                           320 N. Blakely Street,
                                           Dunmore, PA 18512
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Dated: 19 July 2023




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                         CERTIFICATE OF CONCURRENCE


      I, Joseph R. D’Andrea, Esquire do hereby certify that on this date, I contacted Sean
A. Camoni, Esquire, Assistant United States Attorney, and counsel advised that he
concurs with the within Motion for Enlargement of Time to File Pretrial Motions.




                                         s/Joseph R. D’andrea
                                         Joseph R. D’Andrea, Esquire



Dated: 19 July 2023




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                               CERTIFICATE OF SERVICE


      I, Joseph R. D’Andrea, Esquire, do hereby certify that I electronically served, via

e-mail, a copy of the foregoing Motion for Enlargement of Time to File Pretrial

Motions, to the following:



                             Sean A. Camoni, Esquire
                             Assistant United States Attorney
                             William J. Nealon Federal Building
                             235 North Washington Ave.
                             Scranton, PA 18301




                                           s/Joseph R. D’Andrea
                                          Joseph R. D’Andrea, Esquire


Dated: 19 July 2023




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